Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 1 of 14


                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      PALM BEACH DIVISION

                                        CASE NO. 9:21-cv-81012-AMC



  KESHA C. PERKINS,

                    Plaintiff,

  vs.

  WESTERN WORLD INSURANCE
  COMPANY,

                    Defendant.
                                                           /

                 PLAINTIFF’S RENEWED MOTION TO COMPEL APPRAISAL1

           Plaintiff, KESHA PERKINS, (“Plaintiff”), by and through undersigned counsel, hereby

  files this Motion to Compel Appraisal against Defendant, WESTERN WORLD INSURANCE

  COMPANY, (“WESTERN” or “the Defendant”) and in support thereof states:

                                            PRELIMINARY FACTS

           1.       On or about September 10, 2017, while the Policy was in full force and effect, the

  Property sustained a covered loss as a result of wind damage from Hurricane Irma (hereinafter the

  “Loss”).

           2.       Accordingly, the Defendant inspected the Property and prepared an estimate of

  damages reflecting what it unilaterally determined the value of the Loss to be.

           3.       However, after diligent inspection of the Loss by Plaintiff, and his representatives,

  it was obvious that the Property sustained damages substantially greater than the damages




  1 Renewed only to include certificate of conference as required by S.D. Fla. L.R. 7.1(2)(3).
                                                     Page 1 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 2 of 14


  acknowledged by the Defendant. Specifically, Defendant’s estimate undervalued the cost of many

  repair items and overlooked many areas that sustained damages as a direct result of the Loss.

         4.      Specifically, Defendant valued the covered damages to be below the Policy’s

  $6,400.00 windstorm deductible, when in reality the Plaintiff believes she suffered approximately

  $81,137.59 worth of covered damages to her property as a result of the loss. See Defendant’s

  Correspondence attached hereto as Exhibit “A” and the Plaintiff’s Sworn Statement in Proof of

  Loss attached hereto as Exhibit “B”.

         5.      Plaintiff has demanded that Defendant honor its contractual obligation to make

  payment to her in an amount that is reflective of the true actual valuation of the Loss, but Defendant

  has refused to do so, in breach of the contract of insurance.

         6.      To date, Defendant has refused to go to appraisal and has refused consider

  Plaintiff’s request for proper payment and has failed to issue any payment, while unilaterally

  asserting that its original estimation of the value of the loss was correct.

         7.      Plaintiff has fully cooperated with Defendant’s investigation of the claim,

  performed all post-loss conditions or same have been waived, produced documentation and

  photographs requested, and has met all conditions precedent prior to filing this lawsuit.

         8.      Pursuant to the terms of the Policy, when the parties are in disagreement as to the

  amount and scope of the Loss, either party may invoke the appraisal process, at any time, and the

  non-moving party must comply with the Policy’s appraisal clause once invoked.

         9.      Accordingly, Plaintiff has filed the instant Motion to Compel Appraisal so that this

  Court may enter an order sending the matter to appraisal so that the true amount of the loss can be

  established, as well as limiting the remaining issues in this litigation.

                                     MEMORANDUM OF LAW

         “The law in Florida is clear that issues of coverage and liability under an insurance policy

  are for the court or jury, respectively, whereas a dispute regarding the amount of loss to be covered
                                               Page 2 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 3 of 14


  under the policy is subject to appraisal if so provided in the insurance policy.” Hamaoui v. Am.

  Sec. Ins. Co., No. 19-CV-25102, 2019 WL 9514502, at *1 (S.D. Fla. 2019) (quoting State Farm

  Fla. Ins. Co. v. Hernandez, 172 So. 3d 473, 476 (Fla. 3d DCA 2015)).

                 The division of responsibility between the appraisers and court is therefore
                 clear. The appraisers determine the amount of the loss, which includes
                 calculating the cost of repair or replacement of property damaged, and
                 ascertaining how much of the damage was caused by a covered peril and
                 the court decides whether the policy provides coverage for the peril which
                 inflicted the damage, and for the particular property at issue; in other words,
                 all coverage matters.

         People's Tr. Ins. Co. v. Garcia, 263 So. 3d 231, 234 (Fla. 3d DCA 2019) (Lagoa, J.)

  (emphasis added) (alterations omitted) (quoting Citizens Prop. Ins. Corp. v. River Manor Condo.

  Ass'n, Inc., 125 So.3d 846, 854 (Fla. 4th DCA 2013)). “If an insurer admits that there is a covered

  loss, the amount of which is disputed, the amount of loss question is for an appraisal panel. If an

  insurer denies that there is a covered loss, the issue of coverage is one for the trial court.” 767

  Bldg., LLC v. Allstate Ins. Co., No. 10-CV-60007, 2010 WL 1796564, at *2 (S.D. Fla. 2010)

  (quoting Sunshine State Ins. Co. v. Rawlins, 34 So. 3d 753, 2010 WL 1576791, at *1 (Fla. 3d DCA

  2010)). Moreover, “where the insurer has not ‘wholly denied’ coverage, but the parties dispute

  whether the claimed damage resulted from a covered or uncovered cause, appraisal is appropriate

  to determine causation.” Merrick Pres. Condo. Ass'n, Inc. v. Cypress Prop. & Cas. Ins. Co., 315

  So. 3d 45, 50 (Fla. 4th DCA 2021); see also Johnson v. Nationwide Mut. Ins. Co., 828 So. 2d 1021,

  1022 (Fla. 2002) (“[C]ausation is a coverage question for the court when an insurer wholly denies

  that there is a covered loss and an amount-of-loss question for the appraisal panel when an insurer

  admits that there is covered loss, the amount of which is disputed.”). Moreover, it is firmly rooted

  in Florida jurisprudence that an appraisal provision in an insurance policy is enforceable by the

  Court upon a petition to compel appraisal. Preferred Mutual Insurance Company v. Martinez, 643

  So.2d 1101 (Fla. 3d DCA 1994); U.S. Fidelity & Guaranty Co. v. Romay, 744 So.2d 467, 468 (Fla.

  3d DCA 1999). Specifically, the Third District Court of Appeal in Martinez, supra, held that a
                                             Page 3 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 4 of 14


  denial of a motion to compel appraisal was improper when the policy contained an appraisal clause.

  “A full reading of the clause (appraisal clause) makes clear that neither party has the right to deny

  that demand once it is made”. United Community Insurance Company v. Leslie Lewis, 642 So.2d

  59 (Fla. 3d DCA 1994); See also Ziegler v Knuck, 419 So.2d 818 (Fla. 3d DCA 1982); and

  Intracoastal Ventures Corp. v. Safeco Ins. Co., 540 So.2d 162, 164 (Fla. 4th DCA 1989).

         However, prior to invoking a policy's appraisal provision, “the parties must ‘engage in

  some meaningful exchange of information sufficient for each party to arrive at a conclusion’ of

  whether a disagreement exists.” Hamaoui, 2019 WL 9514502, at *1 (quoting U.S. Fid. & Guar.

  Co. v. Romay, 744 So. 2d 467, 470 (Fla. 3d DCA 1999)). To determine whether “an arbitrable

  issues exists,” the Court must determine that a disagreement as to the amount of the Loss exists

  between the parties. Id. (citing U.S. Fid. & Guar. Co. v. Romay, 744 So. 2d 467, 469 (Fla. 3d

  DCA 1999)). A disagreement exists after the parties have submitted competing estimates and

  there has been “some meaningful exchange of information sufficient for each party to arrive at a

  conclusion.” Id. (citing Romay at 470.). See also, Maytin, 51 So. 3d at 591 (citing to Sunshine State

  Ins. Co. v. Corridori, 28 So. 3d 129, 131 (Fla. 4th DCA 2010); First Home Ins. Co. v. Fleurimond,

  36 So. 3d 172 (Fla. 3d DCA 2010); and, Sunshine State Ins. Co. v. Corridori, 28 So. 3d 129, 131

  (Fla. 4th DCA 2010)). Furthermore, “in order to make a preliminary determination that there is a

  disagreement between the insurer and the insured regarding the amount of the loss, the trial court

  must be satisfied of the insured’s compliance with the policy’s post-loss conditions.” United

  Property and Casualty Insurance Company v. Concepcion, 83 So. 3d 908, 910 (Fla. 3d DCA

  2012). In other words, Plaintiff need to establish that she provided Defendant with an independent

  means by which to determine the amount of the Loss, as opposed to relying solely on the insured’s

  representations. See Scottsdale Ins. Co. v. University at 107th Avenue, Inc., 827 SO. 2d 1016, 1016

  (Fla. 3d DCA 2002) (quoting Romay at 471 n. 4).


                                             Page 4 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 5 of 14


         The districts have not reached a consensus on whether the trial court must resolve coverage

  issues before compelling appraisal when the insurer denies coverage. The Third District Court of

  Appeal follows the “dual track” approach to appraisals. See Sunshine State v. Rawlins, 34 So. 3d

  753 (Fla. 3d DCA 2010). The Sunshine court held that (i) the issue of the amount of loss sustained

  by insured is ripe for determination by an appraisal panel and (ii) the trial court can allow appraisal

  of the loss and the determination of coverage to move forward on a dual track basis. Id. The Third

  District Court of Appeal has specifically held that the discretion to determine the order in which

  coverage loss issues are considered does not override a preliminary determination as to whether

  an arbitrable issue exists. Citizens Property Ins. Corp. v. Mango Hill Cond. Ass’n 12 Inc., 54 So.

  3d 578, 581 (Fla. 3d DCA 2011) (emphasis added). The Second District has recently joined the

  Third District in adopting the dual-track approach. See generally Am. Cap. Assurance Corp. v.

  Leeward Bay at Tarpon Bay Condo. Ass'n, 306 So. 3d 1238, 1242 (Fla. 2d DCA 2020); see also

  Villagio at Estero Condo. Ass’n, Inc. v. Am. Cap. Assurance Corp., 2021 WL 1432160 (Fla. 2d

  DCA 2021). The Fourth District, however, has held that the trial court must resolve all underlying

  coverage disputes prior to ordering an appraisal where the insurer has “wholly denied” coverage.

  Citizens Prop. Ins. Corp. v. Demetrescu, 137So. 3d 500, 502 (Fla. 4th DCA 2014). Unlike the

  claim in Demetrescu, in the instant matter Frontline has unquestionably admitted coverage for part

  of the Plaintiffs’ claim but has declined to repair their roof. In other words, Frontline has not

  “wholly denied” coverage. See Peoples Trust Insurance Co. v. Tracey, 251 So. 3d 931 (Fla. 4th

  DCA 2018); see also Merrick Preserve Condo. Ass’n., Inc. v. Cypress Property and Casualty

  Insurance Co., 2021 WL 1206394 (Fla. 4th DCA 2021). In Tracey, the insurer successfully argued

  an appraisal was proper to determine whether the roof damage was caused by a covered cause or

  an uncovered cause. Id.

         Further, the case law in Florida is clear that the duties after loss provision of an insurance

  policy only requires the insureds to respond to requests made directly to him/her from the insurance
                                              Page 5 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 6 of 14


  company; it does not obligate them to comply unsolicited. Herrera v. Tower Hill, 161 So.3d 565

  (Fla. 2d DCA 2014); See also Cook v. First Liberty Ins. Corp., 2011 WL 583743 (M.D. Fla. Nov.

  21, 2011)(absent a request for reports in the denial letter, the insureds are not require to produce

  them under “duties after loss” provision); See Ro-Ro Enterprises, Inc. v. State Farm, 1994 WL

  16782171 at 4 (S.D. Fla. 1994) (holding that an insurer’s denial of liability indicates that the insurer

  has already decided to refuse payment for any loss; such a decision makes filing of proofs of loss

  “a vain and futile act", and the requirement that proofs of loss be filed is said to have been

  waived.) citing Keel v. Independent Life, 99 So. 2d 225 (Fla. 1958).

          In the instant matter, it is undisputed that Defendant improperly denied Plaintiff’s request

  for a re-evaluation of their claim and Defendant has not made any additional requests of the

  Plaintiff to comply with post-loss obligations. Plaintiff was ready, willing, and able to comply

  with all post loss obligations had Defendant elected to request such compliance. However, as

  stated above, Defendant has unquestionably waived its right to require Plaintiff to comply with the

  Policy’s post-loss obligations and/or allege that any failure to do so resulted in a breach relieving

  them of liability. Nevertheless, Plaintiff still produced estimates, proposals, and photographs to

  Defendant so that the Defendant could independently determine the true scope of the Loss and

  therefore, should have received a proper payment for the damages sustain to their property.

  Defendant has been given more than adequate information to evaluate the existence of a dispute

  as to the amount of the Loss and should be ordered to appraise the Loss pursuant to the terms of

  the Policy it drafted.

                                     REQUEST FOR HEARING

          In accordance with Local Rule 7.1(b)(2), the Plaintiff respectfully requests that this Court

  convene a hearing to allow the undersigned to address the Plaintiff’s arguments as to the Motion

  to Compel Appraisal to Dismiss and otherwise address the positions/arguments raised by the

  Defendant in opposition thereto. Affording such hearing would allow the Court to better address
                                               Page 6 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 7 of 14


  the merits of the relief requested by the Plaintiff and otherwise allow the Parties’ counsel to address

  any inquiries of this Court.

         The threshold question for this Court is to consider at the evidentiary hearing is as follows:

                     Whether sufficient information (in the form of compliance
                     with post-loss obligations) has exchanged hands between the
                     parties so that there is a disagreement or dispute as to the
                     amount of the Loss

  As provided by Florida Law, the limited purpose and scope of the evidentiary appraisal

  hearing is only to determine if the parties had a “dispute as to the amount of the loss,” and

  are thereby entitled to proceed to appraisal. United Property and Casualty Insurance Company

  v. Concepcion, 83 So. 3d 908, 910 (Fla. 3d DCA 2012). Further, so long as Plaintiff has provided

  the Defendant with information (beyond the word of the insured) so as to determine whether a

  disagreement as to the amount of the Loss exists, then submitting the matter to appraisal is the

  appropriate procedure. See Scottsdale Ins. Co. v. University at 107th Avenue, Inc., 827 So.2d 1016,

  1016 (Fla. 3d DCA 2002).

         Moreover, because Defendant has breached the policy by its continued reliance on its

  unilateral determination of the Loss, Defendant has now waived their right to require the

  Plaintiff to comply with any contractual obligations. Hartford Acc. & Indem. Co. v. Phelps, 294

  So. 2d 362, 365 (Fla. 1st DCA 1974) (an insurer, by unconditionally denying any liability upon its

  policy, waives post-loss obligations required by the policy). In fact, upon an insurance carrier’s

  first breach of its’ policy obligations, the Insured has then been relieved of any subsequent duty

  on their part. See Mercury Ins. Co. of Florida v. Anatkov, 929 So.2d 624 (Fla. 3d DCA 2006)

  (where, as here, an insurer denies coverage which actually exists, “the insurer has breached the

  contract and therefore cannot be allowed to rely upon a contractual provision prohibiting the

  insured from settlement of the claim with a responsible party in order to relieve itself from

  liability.” Quoting Aristonico Infante v. Preferred Risk Mut. Ins. Co., 364 So.2d 874, 875 (Fla. 3d

                                              Page 7 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 8 of 14


  DCA 1978); see also Wegener v. International Bankers Ins. Co., 494 So.2d 259, 259 (Fla. 3d DCA

  1986) (confirming that the effect of a repudiation of coverage found to be improper “was to waive

  any right to insist upon the insureds' necessarily thus futile compliance with the various conditions

  to recovery including notice and the preservation of the carrier's subrogation rights”).

                                            CONCLUSION

            It is undisputed that Defendant and Plaintiff have a disagreement as to the amount of the

  Loss, then pursuant to the Policy’s appraisal provision, the appropriate mechanism to determine a

  true and accurate amount of the Loss is through the appraisal process. As a result, Plaintiff is

  entitled to appraisal as he fully complied with the post loss obligations and, more importantly, the

  record evidence in possession of the parties, and this Court, clearly indicates that the parties are

  aware of a disagreement as to the amount of the Loss such that appraisal is warranted.

            WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an order

  compelling the Defendant to comply with the Policy’s appraisal clause, to abate the action until such

  time that the appraisal process is completed and grant any such as relief as this Court deems just and

  proper.




                            [CERTIFICATE OF SERVICE TO FOLLOW]




                                              Page 8 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 9 of 14


                                   CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on the 29th day of September 2021, we electronically filed
  the foregoing document with the Clerk of the Court using CM/ECF. We also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties identified on
  the attached Service List in the manner specified, either via transmission of Notices of Electronic
  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who
  are not authorized to receive electronically Notices of Electronic Filing. We further certify that as
  required by S.D. Fla. L.R. 7.1(a)(3) counsel for the movant has conferred with all parties or non-
  parties who may be affected by the relief sought in the motion in a good faith effort to resolve the
  issues raised in the motion and has been unable to do so




                                                GROSSMAN, LeMONTANG
                                                & de la FUENTE, PLLC
                                                Counsel for Plaintiff
                                                75 Valencia Avenue, Suite 800
                                                Coral Gables, Florida 33145
                                                Telephone No. (305) 446-0303
                                                Facsimile No. (305) 446-4503

                                                By: /s/ J. Bruno de la Fuente
                                                       J. Bruno de la Fuente, Esq.
                                                       Florida Bar No. 81674




                                             Page 9 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 10 of 14


                                       SERVICE LIST

                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  PALM BEACH DIVISION

                                CASE NO. 9:21-cv-81012-AMC



   KESHA C. PERKINS,

                Plaintiff,

   vs.

   WESTERN WORLD INSURANCE GROUP,

                Defendant.
                                              /


   Steven C. Teebagy, Esquire
   Florida Bar No.: 64823
   Crystalin C. Medeiros, Esquire
   Florida Bar No.: 56342
   Bethany Ruiz, Esquire
   Florida Bar No. 107059
   The Teebagy & Medeiros Law Group, PLLC P.O. Box 221647
   West Palm Beach, FL 33422
   Phone: (561) 229-0280
   Facsimile: (561) 229-0281
   Service Email: eservice@thetmlaw.com Counsel for Defendant




                                         Page 10 of 10
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 11 of 14




                          Exhibit A
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 12 of 14
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 13 of 14




                          Exhibit B
Case 9:21-cv-81012-AMC Document 34 Entered on FLSD Docket 09/30/2021 Page 14 of 14
